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16    Attorneys for Defendant APPLE INC.
17                               UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                         OAKLAND DIVISION
20    EPIC GAMES, INC.                              Case No. 4:20-cv-05640-YGR
21          Plaintiff, Counter-defendant            DECLARATION OF JULIAN W.
22                                                  KLEINBRODT IN SUPPORT OF APPLE
                          v.                        INC.’S OBJECTIONS TO SPECIAL
23                                                  MASTER RULINGS ON APPLE INC.’S
      APPLE INC.,                                   PRODUCTIONS OF RE-REVIEWED
24                                                  PRIVILEGED DOCUMENTS
            Defendant, Counterclaimant
25                                                  The Honorable Thomas S. Hixson
26

27
     DECLARATION OF JULIAN W. KLEINBRODT IN                             CASE NO. 4:20-CV-05640-YGR
28   SUPPORT OF APPLE INC.’S OBJECTIONS TO
     SPECIAL MASTER RULINGS ON APPLE INC.’S
     PRODUCTIONS OF RE-REVIEWED PRIVILEGED
     DOCUMENTS
      Case 4:20-cv-05640-YGR           Document 1189-1            Filed 02/10/25   Page 2 of 3




1    I, Julian W. Kleinbrodt, hereby declare as follows:

2           1.      I am an attorney licensed to practice in the State of California, and a member of the Bar

3    of this Court. I am a partner at the law firm Gibson, Dunn & Crutcher LLP (“Gibson Dunn”), counsel

4    of record for Apple Inc. (“Apple”) in this case. I have personal knowledge of the facts stated below and,

5    if called as a witness, would testify competently thereto.

6           2.      I have represented Apple in this litigation since 2020. I was promoted to partner at Gibson

7    in 2024.

8           3.      I understand that Apple is appealing certain rulings by the Special Masters regarding

9    Apple’s assertion of the attorney-client privilege and work product protection for certain documents

10   Apple redacted or withheld in connection with injunction compliance proceedings. I submit this

11   declaration to provide further information with respect to one of these documents. I refer to the document

12   by its corresponding Bates number or entry number on Apple’s privilege log in this matter.

13          4.      In the days and weeks after the Court’s ruling in September 2021, I was closely involved

14   in Apple’s response to the Injunction ordered by the Court.

15          5.      Entry No. 727 (PRIV-APL-EG_00072541) is a compilation of key quotations and

16   passages from the Court’s Rule 52 Order on the merits following the trial that I drafted and revised.

17   Other attorneys at Gibson Dunn contributed to and revised the document.

18          6.      I drafted this document for the purpose of providing legal advice and analysis to Apple

19   regarding the implications of and conclusions in the Court’s ruling. This document reflects my legal

20   judgment and mental impressions about the import of those implications and conclusions.

21          7.      It is my view that this document was created and transmitted for the primary and

22   predominant purpose of advising my client in connection with ongoing litigation.

23          8.      I confirmed that this document is stored on Gibson Dunn’s document management

24   system, dated September 13, 2021. The document’s metadata indicates that I am the author of the

25   document and that the document was edited by other attorneys at Gibson Dunn.

26

27
     DECLARATION OF JULIAN W. KLEINBRODT IN              1                     CASE NO. 4:20-CV-05640-YGR
28   SUPPORT OF APPLE INC.’S OBJECTIONS TO
     SPECIAL MASTER RULINGS ON APPLE INC.’S
     PRODUCTIONS OF RE-REVIEWED PRIVILEGED
     DOCUMENTS
      Case 4:20-cv-05640-YGR          Document 1189-1           Filed 02/10/25     Page 3 of 3




1    I declare under penalty of perjury under the laws of the United States of America that the foregoing is

2    true and correct.

3    Dated: February 10, 2025                               Respectfully submitted,

4

5                                                           By: ________________________
6                                                               Julian W. Kleinbrodt

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     DECLARATION OF JULIAN W. KLEINBRODT IN             2                        CASE NO. 4:20-CV-05640-YGR
28   SUPPORT OF APPLE INC.’S OBJECTIONS TO
     SPECIAL MASTER RULINGS ON APPLE INC.’S
     PRODUCTIONS OF RE-REVIEWED PRIVILEGED
     DOCUMENTS
